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                            EXHIBIT F

     Summary of H&K Expenses and the
     Receiver's Third-Party Professionals
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                                    EXHIBIT F

                             SUMMARY OF EXPENSES


                            Expense Category             Cost

             F-1: H&K Reimbursable Expenses           $8,762.16
                  Filing Fees                               $771.96
                  Parking                                   $100.00
                  Postage                                   $191.44
                  Online Research                           $452.80
                  Travel Expenses                         $7,245.96
             F-2: Local Utah Counsel                  $18,689.80
             F-3: Forensic Accounting Services &     $264,330.90
             Data Analysis*
             F-4: Becky McGee                         $7,584.00
                             TOTAL:                  $299,366.86
